                                           Case 3:17-cv-00644-JCS Document 19 Filed 05/15/17 Page 1 of 1




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                                   4                                  UNITED
                                                                           D STATES D
                                                                                    DISTRICT C
                                                                                             COURT

                                   5                                NORTHER
                                                                          RN DISTRIC
                                                                                   CT OF CALIIFORNIA

                                   6

                                   7    ORIONCLIC
                                        O        K LLC,                                      Case No. 117-cv-006444-JSW

                                   8                   Plaintiff,
                                                                                             ORDER T
                                                                                                   TO SHOW C CAUSE REE
                                   9            v.                                           PLAINTIF
                                                                                                    FF'S MOTIION FOR
                                                                                             ALTERNAATE SERV
                                                                                                           VICE
                                  10    KELVIN
                                        K      INO
                                                 OCENT, et al.,
                                                           a
                                                                                             Re: Dkt. N
                                                                                                      No. 10
                                  11                   Defendantss.

                                  12
Northern District of California
 United States District Court




                                  13          On Marrch 22, 2017
                                                               7, Plaintiff OrionClick
                                                                            O          L
                                                                                       LLC (“Plaintiiff”) filed a m
                                                                                                                  motion seekking an orderr

                                  14   allo
                                          owing altern
                                                     nate service of
                                                                  o the compllaint and sum
                                                                                         mmons on D
                                                                                                  Defendants K
                                                                                                             Kelvin Inocennt and Yma

                                  15   Ino
                                         ocent. (Dkt. No. 10.) On
                                                                n April 10, 2017,
                                                                            2     Magisstrate Judge JJames issuedd a Report annd

                                  16   Recommendatiion recommeending that the
                                                                          t motion bbe granted. ((Dkt. No. 133.) No objecction to the

                                  17   Rep
                                         port and Reccommendatiion has been filed.

                                  18          On Aprril 28, 2017, Lawrence G.
                                                                           G Townsendd, Esq., filedd a notice of appearance on behalf off

                                  19   all Defendants in this actio
                                                                  on. (Dkt. No
                                                                             o. 17.) On M
                                                                                        May 9, 2017, Defendants, including K
                                                                                                                           Kelvin

                                  20     ocent and Ym
                                       Ino          ma Inocent, filed an answ
                                                                            wer to the coomplaint. (D
                                                                                                    Dkt. No. 18.)) Accordinggly, within

                                  21   sev
                                         ven (7) days of this Ordeer, Plaintiff shall
                                                                                s     either w
                                                                                             withdraw its motion for aalternate servvice or show
                                                                                                                                               w
                                       cau
                                         use why the motion shou
                                                               uld not be deenied as mooot.
                                  22
                                              IT IS SO
                                                    S ORDER
                                                          RED.
                                  23
                                       Daated: May 15
                                                    5, 2017
                                  24
                                                                                         __________________________________________
                                  25
                                                                                         JEFFFREY S. W WHITE
                                  26                                                     Unnited States D
                                                                                                        District Judgge

                                  27
                                  28
